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                     Jack Dalrymple
                      Covcmor




                                           EXECUTIVE ORDER 2016-04

          I, .Jack Dalrymple, Governor of the State of North Dako1a, by the authority vested in
   me, do hereby proclaim an emergency exists in Southwest and South Central North Dakota.

          \VHEREAS, an emergency was declared by the l\tforton Co1mty Board ol
   Commissioners on f\ugust 15, 2016, due to unlawful activity occurring at the Dakota t\cccss
   Pipeline construction site, requiring additional manpower, resources and other cxpcndit·urcs;
   and

            WHEREAS, the impac:1 oC continuing unlawful activiry could threaten the health,
   safety and well-being of the general public, protesters :rnd first responders whn arc committed
   to protecdng life and property; and

           WHEREAS, a significant public safety concern is present due to illegal protesting
  activities which cannot be mjr.igatcd with resources on hand; and

          WHEREAS, the rule of law must be enforceJ to protect the general public, protesters,
  and first responders from those who engage in illegal activity; and

          WHEREAS, our citizens have the right t.o peacefully and lawfully assemble and
  protest, and the State of North Dakota is committed to protecting those rights; and

          WHEREAS, additional state resources are necessary to help rcl.icve conditions of
  distress that remain hazardous to the safety and welfare of the citi%cns of North Dakota; and

           WHEREAS, the cost of response may he in excess of available resources.

         NOW, THEREFORE, I order total utilization of the North Dakota State Emergency
  Operations Plan (SEOP) in response to the situation, in order to :issist local and tribal officials,
  to implement appropdate law enforcement actions and future mitigation measures to maintain
  peace and Ol'dcr, and to limit hardships and impacts caused by the cmcl'gcncy.




                                                                                                              EXHIBIT

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 This order is issued upon the following basis and fot the following reasons:

     1. The Governor is vest.eel with the executive authority pursuant to ArLiclc V, Sec Lion I
        of the North Dakota Constitution; and,

     2. The G·overnor is vested with statutory authority to issue execuUvc orders to minimize
        or avett the effects of a disaster or emergency pursuant to Chapter 37-17. 1 of the North
        Dakota Century Code; and,

     3. A coordinated and effective effort of appropriate government departments is required
          to minimh:c the impact of disasters and emergencies in this state; and,

     ti. Conlinuing unlawful activity which could threaten the health and safety of our citi'.1.cns,
         to which State support is needed to mitigate risk to indivi<luals.



     P.xecuted at Bismarck, North Dakota, this     /!1_ day of i\ugust, 2016




Attest:




Secretary 0(\1



Deputy
